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                           FOR SETTLEMENT PURPOSES ONLY
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September 28, 2023
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                                                                                          . BRUTO    N
                                                                                THOMA.SDG
                                                                                        IS T R IC T COURT
                                                                             CLERK, U.S
To: Thomas G. Bruton, Clerk of the Court, United States District Court for the Northern District
of Illinois, Eastern Division, Chicago, Illinois

RE: Case No. 23-cv-5346
Roblox Corporation, Plaintiff v.
The Individuals, Corporations, Limited Liability Companies, Partnerships and Unincorporated
Associations Identified on the Schedule A Hereto, Defendants

Assigned Judge: Thomas M. Durkin

Magistrate Judge: Sunil R. Harjani

I refer to the above lawsuit filed by Roblox Corporation on September 11, 2023, seeking relief
for infringement of its intellectual property rights.

I am writing this letter as an initial offer to reach an amicable settlement in response to
allegations of copyright/trademark infringement.

On September 11, 2023, I received paperwork naming me as a defendant in the above-named
lawsuit. The plaintiff is Roblox Corporation. I am identified as “Aolence” (number 217) under
Schedule A. I do not know, nor have I worked with any, of the other listed defendants. I have
never resided in a foreign country, including China, as the lawsuit states.

The following provides background regarding why I may have been named as a defendant in this
lawsuit.

On January 31, 2020, I designed and uploaded an original t-shirt to commemorate years spent
within a Roblox online group. This shirt was intended solely for personal use. Please note that
this was a one-time occurrence: I am not engaged in the business of designing and selling t-
shirts, nor was the original shirt designed for the purpose of personal profit.

I found the website, “TeePublic,” by chance and uploaded my design under the username
“Aolence.” I was only 19 years old when this occurred, and I had no idea I was potentially
committing copyright and/or trademark infringement. I received the t-shirt and thought no
further about the TeePublic website.

I didn’t expect to sell any t-shirts, nor did I market the t-shirt. To my surprise, TeePublic sold
two, identical t-shirts between then and August 2023, for which I received $9 total.

Below (on pages 3-6 of this document) are copies of TeePublic screenshots supporting what I’ve
said.

Because of my unintentional profit from my ROBLOX inspired design, I propose the following
settlement terms:

                                                                                                     1
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1. I will pay full restitution of the $19 I spent on my initial t-shirt, as well as the $9 earned from
   TeePublic selling my design to two other people. As a token of my sincere apology, I am
   willing to add an extra payment of $200, for a total of $228.

2.   I also agree not to use any of the Roblox trademarks from this day forward.

Please note that, as an initial proposal of settlement claims, this letter does not constitute a
binding agreement.

In exchange for my payment and agreement, I would like Roblox to dismiss me from the case.

I haven’t hired an attorney to represent me in the case because I hope we can resolve this
amicably without additional litigation. Therefore, I would also like to request an indefinite
extension to formally respond to the lawsuit so we can resolve this dispute out of court.

If my proposed settlement is acceptable, please email me confirming your acceptance at
cristian.a.becerril@gmail.com.

If you would like to schedule a meeting to discuss this matter further, please contact me at (385)
246-7461.

I offer my sincere apology to Roblox, as I truly did not intend to infringe its intellectual property
rights, nor cause any harm.



Sincerely,

/s/Cristian A. Becerril
(385) 246-7461
cristian.a.becerril@gmail.com




                                                                                                     2
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                                      Screenshots
Screenshots 1 -3 show my t-shirt purchase on 1/31/20:

1.




2.




                                                                                    3
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3.




Screenshots 4-5 show the sale I made on 8/18/23:

4.




                                                                                    4
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5.




Screenshots 6 and 7 show the notice I received on 8/18/23 when TeePublic took down the
design:

6.




7.




                                                                                         5
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